Case 3:03-cr-00228-RK          Document 344         Filed 06/27/05      Page 1 of 1 PageID: 1471




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                       :
UNITED STATES OF AMERICA                               :       Criminal Action No. 03-228 (FLW)
                                                       :
                                                       :
                v.                                     :                 ORDER
                                                       :
LEONARD PAULK                                          :
                                                       :


       This matter having opened to the Court by Defendant Leonard Paulk, seeking a judgment of

acquittal pursuant to Fed.R.Crim.P. 29(c), or in the alternative, a new trial pursuant to Fed.R.Crim.P.

33; and the Court having reviewed the parties’ submissions; and for the reasons set forth in the

Memorandum Opinion filed herewith, and for good cause shown,

       IT IS on this 27th day of June, 2005,

       ORDERED that Defendant Leonard Paulk’s motion for a judgment of acquittal, or in the

       alternative, for a new trial, is DENIED.




                                                               /s/ Freda L. Wolfson
                                                               Honorable Freda L. Wolfson
                                                               United States District Judge
